      Case: 1:15-cv-10743 Document #: 1 Filed: 11/30/15 Page 1 of 18 PageID #:1




Attorney Code 46683               ES:erl0                           TLCHO6377           2015.11.30

      UNITEDSTATES'";tlffi
                                            ,:'-Hif,   3fi^Ifr,?I?STHERNDISTRICToF
LORI DIPPNER,
                                                                                 DYFI       LED
                                                                                       Nov g 0 20t5
                  Plaintiff,

        V.                                                                      c'Eh',8U33r8'EBY[8U',
SUPERHEAT FGN SERVICES, fNC.,
a Delaware corporation,  individually, and
by and through its agents, servants, or
employees, SUPERHEAT FGN, individually,
and by and through its agents, servants, or                     5-cv-10743
                                                             1 :1
employees, JUAN JOSE PEREZ REYES,                            Judge Amy J. St. Eve
individually, and as agent, servant, or
                                                             Magistrate Judge Daniel G. Martin
employee of Superheat FGN Services, inc.,
and/or Superheat FGN, and/or Enterprise
Rent-A-Car Company-Midwest, LLC, and/or
Ean Holdings, LLC, ENTERPRISE RENT-A-
CAR COMPANY _ MIDWEST, LLC,
individually, and by and through its agents,
servants, or employees, and
EAN HOLDINGS., LLC, individually,
and by and through its agents, servants, or
employees,

                  Defendants.

                                       NOTICE OF'REMOVAL

        The defendant, SUPERHEAT FGN SERVICES, INC., by and through counsel, Elana K.

Seife(, James M, McKnight, and Michael F. Murphy of the Law Offices of Thomas &

Associates, pursuant to 28 U.S.C. 1332 and 28 U.S.C. 7441, et seq., hereby gives notice        of

removal of the instant cause from the Circuit Court of Cook County, Illinois, Case No. 2015 L

01 08 15,   to the United States District Court for the Northern District of Illinois, Eastern Division.

In support thereof, defendant states as follows:
         Case: 1:15-cv-10743 Document #: 1 Filed: 11/30/15 Page 2 of 18 PageID #:2




         L          On October 23,2015, Plaintiff Lori Dippner filed a Complaint in the Circuit

Court o1'Cook County, Illinois, a copy of wliich is attached as "Exhibit           A". Plaintitf    s complaint


is supported by affidavit stating that tlie amount in controversy is in excess of $50,000, and the

oomplaint alleges "severe        an<J   permanent injuries" to the I'>laintiff. On information and belief,

Plaintiff is seeking an amount in damages that exceeds         the   jurisdictional limits of this court'

         2          This defendant has filed its appearance and jury demand with the Clerk of the

Circuit Court of Cook County, Illinois. See attached "Exhibit 8."

         3.          The del'endant is incorporated in the State of Delaware and is a corporate citizen

o1'the state of I)elaware.

         4,         The def'endant has its corporate headquarters and principal place of business in the

State of Delaware.

         5.          On ipformation and belief, the plaintiff, Lori Dippner, is a citizen of the State of

Illinois.    See   Exhibit A.

          6,         'lhe United States District Court for the Northern District of lllinois,            Eastern


 Division,    has   jurisdiction over the instant cause pursuant to 28 U.S.C . 1332 and 28 U'S.C. 1441,

 el   seq., as <liversity of' citizcnship has been established. The parties are citizens             of different

 states, On information and belief, co-defenclant ENTERPRISE RENT-A-CAR                         -   MIDWEST,

 LLC., is a corporate citizen of Iowa, and EAN I{OLDINGS, INC., is not a properly joined party'
                     'fhe def'endant, SUPERI-IEAT FGN SERVICES, INC., was served summons rn

 the state courl lawsuit on October 29,2015, respectively, and this Notice of Removal is being

 lilecl within thirty (30) days of that defendant's service. 28 U.S.C. 1446(b).

            8.       Defendant   will hle a copy of this Notice of Removal, inslanler, with the Clerk of

 the Cirouit Court of Cook County, Illinois.
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       WHEREF'ORE,       for the reasons   stated above, the defendant, SUPERHEAT FGN

SERVICES, INC. does hereby request that this cause proceed before this Honorable Court as an

action properly removed to it.

                                            Respectfu I ly submitted,

                                            THOMAS & ASSOCIATES


                                             e,A* K' d;+L'^-f
                                            Elana K. Seifert


                                            Elana K. Seifert
                                            THOMAS & ASSOCIATES
                                            500 W Madison Street
                                            Suite 2900
                                            Chicago, Illinois 60606
                                            (312) 930-ss00
                                            Email : elanp.sei fert@,gri g.com
        Case: 1:15-cv-10743 Document #: 1 Filed: 11/30/15 Page 4 of 18 PageID #:4




                                CEITTIFICATE OF SERYICE

       Under penalties of perjury as provided by Federal law, I, a non-attomey, certify that a

true and correct copy of the foregoing Notice of Removal was served upon counsel of record on

November 30,2015, by depositing the same in the U.S, nrail chute located at 500 West Madison

Street, Chicago, Illinois, 60661, enclosed in an envelope with first class postage prepaid thereon

and addressed to the attached Service list:




                                                             Norbert E Duckstein




THOMAS & ASSOCIATES
500 W Madison Street
 Suite 2900
 Chicago, Illinois 60606
 (312) 930-ss00
 AIGILSC@ais.gom
    Case: 1:15-cv-10743 Document #: 1 Filed: 11/30/15 Page 5 of 18 PageID #:5



Dippner v. Superheat FGH Services,Inc,, et ol.
Court No.: I 5 L 0108l,5 (Cook County)
Claim No.: 684-448770-001
Judge Brosnaltan- Courtroom 2207
Motion Call "D"

                                                    ILCH-o6377
                                                   SERVICE LIST

ATTORNEYS FOR PLAINTIFFS:
James A. Karamanis
Shane M. Bradwell
Barney & Karamanis, LLP
180 N. Stetson
Suite 3050
Two Pruderrtial Plaza
Chicago, IL 60601
Tel: (3 l2) 553-5300
Fax: (312) 344-1901
jarnes@blch icago law.corn
sh an   q@b kch i ca go I arv. go nr


EAN I-IOLDINCS, LLC
CT CORPORATION SYSTEM
208 S LaSalle Street, Suite 814
Chicago, Illinois 60604

EAN I.IOLDINGS, LLC
Legal Departnrent
600 Corporate Park Drive
St. Louis, MO 63 105

 ENTERPRISE IIENT-A-CAR COMPANY                       -   MIDWE,ST, LI-C
 C'I' CORPORAI'ION SY STEM
 208 S l-aSalle Street, Suite 8t4
 Chicago, Illinois 60604

 ENTERPITISE REN'|-A.CAR COMPANY                      * MIDWEST, LLC
 Legal Department
 4509 Brady Street
 Davenport, Iowa 52806

 Qourti
 Clerk of the Circuit Court of Cook County
 Daley Center
 50 West Washington Street
 Chicago, IL 60602
 Civil: (312) 603-6194
 www. coo kco u ntycl      e   rkofco-u rt. o rq
       Case: 1:15-cv-10743 Document #: 1 Filed: 11/30/15 Page 6 of 18 PageID #:6


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                      Case: 1:15-cv-10743 Document #: 1 Filed: 11/30/15 Page 7 of 18 PageID #:7




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                 Case: 1:15-cv-10743 Document #: 1 Filed: 11/30/15 Page 8 of 18 PageID #:8




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                    Case: 1:15-cv-10743 Document #: 1 Filed: 11/30/15 Page 9 of 18 PageID #:9




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                           (c)         ('rrrr:lr:ssly,irrrcl rrcgliguutly ulrtrusting           thcil r',lhiclu to Dclcrtdartt Ilcycs u,hcn tltcy
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lo.n                                   rvus irrcr:lrrrpclLlnt ()l'opcraling said vclriclc in a propcr and salL'nrlnncr:
J ;.l c. -
J.lv:
zv='
                           (cl1        C'irrclcssly und ncgligcrltly cnlrllstillg thcir vc'hiclc to Dct'crtdant Rcycs rvhcn tltcy
':- f'{ n v                            krrcu, trr iu thc cxct'cisc trl.rrrulitrilrv r:irrL' slrrrrrlcl ltavcr knrlrvtt that Dcl'cnditnt [lcyc's
-.>-7                                  s,ls rrJuklcssly o1'rcrntirrg said vclriclc;
=qix-
J                          (c)          C'rtrulcssly irrrtl ncgliucrrtly cnrrusting thuir vclticl,.'to Dcl'crrclattt Rcycs rr,'hcn lltuy
                                        kuc\\, ()r' irr tlrc r;xcrcisc ol'rlrclirrulv cirrc slrtlultl ltavu knrlrvrt thul sritt vclticlc rvas in n
                                        cllngcrorrs irnd rrnsl I'c con(l it i()lil

                           (r)          C'irrclcssly arrrl nuuligcnlly cntnrstirrg tlrcir vcliiclc to Dcil'ndant [{cy'.'s lr,ltcn tltuy
                                        krturr. or irt tltc qxcrcisc ot'orclinilrJ- clrc slttlultl ltttvc kttotvtt that Dcl'crrtlnnt Ilcycs
                                        rvortld cxccccl ir snlr: spccrl lilr tlrc drir,ing conclitions: antl

                           (c)          C'llclcsslS, urttl rrcgliguttly cnlritstillg rhcir vclticlc to Dct'ctrclartt I{c'y,cs $'ltun thr:y
                                        kncrv or irt tlrc cxr:rcisc ot'ortlinuly caru shottld ltavc ktttlrytt tltal Dcltndanr Rcycs
                                        \\'as   ln   rrn   llt drivcr.

                            19.         IJrrt tirr Dclcrr<lants linterprisc arrdror lian ll<tldings cxprcss artcl/or irrrplicd

               cntt'ustnrcnt of thcr vclriclc tr; l)cl'cntlant ltcyu-s, tlrc vchiclc rr'oulcl n()t ho\,u b,:ctt ott thc roud irtrcl thc

               irccidcrrt rvtrulr"l no( havc ha1'lpcrtcr,l.

                            l()          llrrt tirr l)cli.rrtlirrrt Rc;,cs's irreornpulcncc iln(l rr'cklcssnL'ss tvitlt opcritting                         said

               ielrislL'. ir,.'srrtrltl rrot lrrvc urlllitlccl rvitlr l)lirintil'l's rulriclc. c'ittrsing his scvcrq irrjtrrics.
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                                    l l.       'l'ltitt as it rlircct itrttl prorirnltc rr'srll( ()l'()ns (rr
                                                                                                              luorc ot'l)utL'rr<lirrrts ljntst'prisc          iu)(l1or

                    Ilirr    l{oh.iings stri(l \\,11}nufirl lrcts or ol)rislii()t]}i. Pluintil'l . [-ori Dippncr. \\,its scvctcly injrrrcd and

                    bccittrtc sir:k. sorc. litrttc uncl riisorclurccl nncl hus srrt't'crccl scvl'r0 irn(l ncrrnancut in,iuric's, botlr irrtcrnal

                    ittttl crlcrttitl. ilnd ha.\ srrll'clccl loss ol'cirrnirrgs and pt'olits, hcing thcrctry unuhlc lo attcn(l lo ltis rrsurl

                    ct.ttplti,t'tttcut atttl occttglatiort: antl has irrcrrrrccl grcut rucclicnl cxpcnscs in trrrd trhout tlrc trcauncnt ofr

                    saitl    in.f   rrrics. propr'rly rlaruagc uut.l has r:udurcd              grctt puin         flncl sulJcringl and u,as othcnvisc iniurccl

                    lrcca usc        tr   I' Dql'cndants' nuuligcncc.

                                    \\/l"lHtHrOItL, I)llintil'1 . [-trli Ii,,,r,lur. prirvii rlris Houorirtrlc ('rrurl clttcr.iudlllllctrt in                       hr;r

                    lutor lrtrl irglirrst tlrc Dcfcndiurts. ljllt!'r'prisc ltcnt-,\-(.'ar C'ornpirrrv- i\,lidivcsl L["C'. irrclivitlually,                        arrcl


                    bv trtttl llttrlttgh its lgcnts. survilltls. trr urrrplut,c,;s. irn(l,or |.jrrn lloltlings L.L('. intlil'icluully', rrntl [ty
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.r.l                lrrttl tltlorrglr its irucllts. scrvunts. rrr ulnnlot,ucs. irr un iltn(,r.ull irt usccss ul'S5(),(XX).00 pltrs I'llirrtil'l's
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z,-del              c()sts ltcrL'in, irs         u'cll irs srrclr lirrtl:cr irnrl otlrcr rclic-l'tiu I'luiutil'l'ils this llonrtrahlc ('ottrl dcctns jrtst
iJ      UIV=e9.*
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                    and cqLritatrlc in thc l)tclt)iscs,
-AH3
:-      C{   rr -
=clK*                                                                                     gQ-u,N:!:lll
'-:.:

'-!                         \cgligcncc * Supcrhcat IrCl'{ Scrviccs, tnr,, indivitluall.r', und [rv ancl throtrgh its tgents.
                          servants, ur cnrployccs irnd/or superheat   F(itl. incliliduitllv. and by and lhrough its ag0trts,
                                                            scrYir n (s, or Cnrplovccs)

                                     l-l L       l)lnirrtift' rcpqals and rcallogcs l)arirgrirplrs                   I   thrr>ugl:   3l   ot' Counr   ll   as lnd    I'rlr


                     l';rrugrlphs I lhrouglr                2l ot'tlris   C'ount   Ill ls il't\rlly   sr.'t   tirrth hcrcirr,

                                     ll.         On Octobcr'16. 1013. Delcndlnt Rcycs. as cluly authorizcd agcnt. scl"nilnt anclior

                     cntplo,vcc ol'Dct!rtcliurl Supclhuitt F(il-l Scrviccs, Inc.. rvls opcrating a nl()t()r vclticlc on l-55. at or

                     ncur nrilcpost l5;1. irr Jolict, lllintlis.

                                     l.'1.       Ar   lll   tirucs rr:lcvirrrt hcruin. I'luinrit'l'rvus in lhc L"xuruisc ol'tlttc crtrc irttcl cutrtion lbr

                     Ircr rrri,n sirlL'ry turcl ihc srrlury ol'orlrcrs. irrrtl llurt rrt slicl tirrrc attd pllcc. tl:c I)llrirrtit'l'u'us larvtirlly

                     ir   li'clirtg ort tlrc irlbrcsiricl loiltlu'4r,.
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                        2.1. lt          s,irs thcn und tlrcrc thc rltrty nt'[)cl'untlanl Supcrhclt                                    IjCi   ll   Surt'iccs. Ittc..

              rrrdividually. arrd by            urrct   llrnluglr its rgcrrts. scrvanls. or crnployccs. Io ()purittc its vtthiclc rvith                          cluc


              carr,. irrrd   caution    lilr its orvn srtlcly           arrd llrc' snlctl, ol'otlrcrs. inclucling t'}laintit't, itrttl               in   accorclancc

              u,ith llrc applicatllc stalulcs arrtl or<linarrccs in cl'l'ccl                   lt   lhc slrirl tirttr: arrrl plitcc.

                         :5.      ln       [rrcaclr       ot'rhc     irt'rlrcurr:ntiorrccl duty, [)ct'cndilnl Supcrhcll uitttscd                     its vuhiclc   to

              strikc tlrc lcirr ol'thc vu'lriclc clrivcn by ['luiutit'l'.

                         2(i,      At          tlrc' rrfirlu'stir.l tinrc anrl placc, Dultndarrt Srrpcrltuttl. irttlivitltrally, aud by and

              tlrrtlrrrh its aucnls. sqrvirnts, trr urttployucs. lvirs thcrr irnd thuru guilty ol'otlq ()r ttlttrc'ttl'thc lirllorving

              cnrclcss ancl ncgliucnt ilcls ol' ttrttissiorts:

                                   (ir)            l'ailccl to suc lrrcl otrscn'c I'lirintitls vchiclu rvltcn                     it could         arld shotrld havc
                                                   sccrr arrtl obscrvcd itt
]l
J
;.E                                (h)              Failctl to slorr,tltc vclriclu to ir spcctl rcusunirblc filr tratJic conclitions itncl tltc
i,^-.r                                              rrsc ot'lhc rrratlrvitv. in violatiott of (r25 lL(:S 5/ I I -60 I :
.iO!.J-
JIV=      u
1v=
.:rrYr                             (r--)            lririlccl to lcl.jnst thc spcud so us to avoid rt collision u'ith Plirintil'l-s vchiclc in
,^.N r) v                                           violrrlirtrt ot'615 I LC'S -5i I I -i)()5:
vRql
- E'-                                               Stnrck tltc rcar p()r'ti()n rll' l' ltt ittt i t'f's vclticlu:
::J                                1cl)
J

                                   (c)              ljailctl lo tlrivc tltu vclticlc rvithitr lltc slattrtory prcscribcd                  s1:ccd      linril:

                                   (t)              Opcratcd thc vclticlc tlp()n il ptrhlic rvitv rtcgligcntlv. hccdlcssly and s'ithottt
                                                    rluc curc ot cilt"ltion. an<l irr a nliu'lncr so us to cttditngcr or Iikcly to cntlattgcr
                                                    ony pcrs()n 0r propclly:

                                   (s)              Fuilcd ro stop lhc vclriclc in tiurc to i.rvoid tlrc collision althotrglt Dct'sndant
                                                    hncrv tlr slroultl Ilirvc sccn thal it lvas inrpcncling trncl lrad ltltplc titnc atttl
                                                    opprlrtrrnity ltl itvoitl itl

                                       (h)              l'ailccl to t11l (,1'clttttgc lltc Coursc ol'his vchiClc's0 0s I() ltitvc passccl
                                                        Plgirrril'l"s irtrtourohilc,,,irhr,,rrt cirusing lltc collisiort. althorrgh it hircl rrrDplc
                                                        titttc itrtrl rll)l)()rttlttity 1t: clo stl;

                                       (r)              Drtrvc lhc vclriclc rvitlr n rvillt\ll or \\'alrtorl clisrcgartl l'trr llrc slfl'ty tlt'pursons
                                                        ()r pl'()purly lcgnlly,ttitltirt tltc roirtlrvirv itl violntiot: ot'(rl5 ILC'S -ill2-l0l:

                                       (.t )            llailecl to kccp a snt'c tlis(irncc bcl\\'otlll his'.'chiclc attd thc vchiclu bcittg
                                                        ch'ivcn l'rv [)llitttil'l':   rtttcl


                                       (k)              lrlilctl   to otrcy tltc trttt'ltr; rtrlcs ol'lhc Slittc ol'lllirrois.
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                      27.           'l'hirt as   r   (lircct lri(l praxitniltc rusull ()t'()uc or nlorc ot'[)utl'r]diult Supcrhcat's                       srrid

          N,rolrgl'lll ilcls ()r'()nrissions, Plirirrtitt'l)ipprrcr, \\'irs scvcrcly injrrrcd iurcl t)ucln)c sick. sorc. Iatttc untl

          rlisonlclurl irnd ltus srrl'f'crcd sclcr0 irn(l pcnniu)cnt irr.julius. hoth irrtr:rrrirl anrl cxtu'r'nul. itrtd ltus

          sul'tcrccl loss oi'sunril'lgs irncl prot)ts. bcirr-e tlru'rcby unilblc to uttr:rrcl to hcr usuat cnlployu'tcnt ilnd

          occrrlruliolr: nl)(l hils incurrccl grcirl ltiLr([ical cxpurrs':s in und ahorrt tltc trciltll'lcnt                            of    srrid injttrics,

          pt'()pr:rtv dirrrrugcr untl hirs cn(hrru(l                ulr;rl pirirr irncl sul'l'cringl und wls othcrwisc irtjtrrccl [:ccattsc tll'

          [.)c I'cn cllr n t   I{('ycs' rtcgl iglt'nt:,.',

                        \\ l"ll:lll;ljOttl:. I)laintit't'. Luri Dippncr. prilys lhis [-lourtratrlc ('otrrt r'nlcr .iudgltlctlt itl                            hcr

          lrrvor irntl rrgaiust thc [)cllndirrrt. Supurhcal lr(i["] Sr.rviccs. lrrc.. irrclividtrirlly'. irncl b;- rnd throttglt its

          irsclrls. Jcrvar)ts. or cr:rployuus. irr an iul)(rullt irr cxcuss ol'$5t),0()().()0 llltrs I'lilintil'l"s c()sls h0rcil'1. ils

          rvell irs srrclr tirrtlru.r'antl otlror rclict'lbr Pllirrtif't'its Illis Hontrrablc C'uru'l cluuttts jttst irttd sqtlitilblc ill
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                        LJnter;:rise llcrrt-A-Car Compan."-- N'liclrvcst LLC, and/or Ean l'loldings LLC)

                         l-:7.        Plairrtil'f'tcpcilts lncl rcallcgcs Paragraplts                       I   tltt'otrglt ?7 ot'Cttttttt   lll   irs ttncl fi.lr

           [)aragnrplrs          I tlrrougli ]7 ol'tlris     Count IV irs            it'ttrlll'scl lirrth   hcrr:irt.



                         :li.         On irrtr,rrrnirrion irrrrt [:clir.l'. irt trll rinrcs rcluviull ltcrcitt. L)clL'nclirnts Untcrprisc Ilcnt-

           A-('ur Conr;'rirrrv- Nliclrvcst l-1..('("t.irrtcrprisc") arrd Uiut t'lolclirrgs LL('("Irrn tlolctings"] \vcrr'tllc

           ()\\'nr:rs ol'thc vchiclc bcing tlrivcrt b-'" [)ct'crtclttttt llcl'cs.

                         19.          'l'lrrrt on qr'0trotrr Octobcr 16.2() l-1. Dcl'crrtllnt t{c}'cs rvirs clrivirrg tltc Ychiclc ol'

           Dctclcllnrs. Illtcrprisc anclior [:iru l-lolcliugs..,r,illr tltu laltcr's kttuu'lur.lgtu                         ancl cttt:sctrt. as    lllc ugcnl !)r

           scr'\'llll    rl   t' [ )c tttrtlurtts l:tt turpisc   ittttl/tlr liirrt   H ol tl i rrgs.
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                       10.            On Octohrcr' ?6. 3011. Dcf'cndant Rc-ycs. as duly autllorizc(l rgcnl. sorviu'lt anclior

              unp lovcc ol' Dc          l'crrd lrrr   t [intcrPrisc. irnclirlr Errr I Iold irt gs        u,irs oPcrating      il tt'totor vc'hiclc northhotln(l

              orr l-.i5. ut or nciu'rrrilupost 154. in.loliut. Iltirtois.

                        j l.          At    lll    tirrros rclovirut lrcrcirr, I)luirttifl'rr,us in ths. c.xcrcisc            ol'tlttc citrc and catrlion fbr

              lrcr orvtr satr:ty nrtrl thu snl'cty o['ollrcls, artd tltat at sitirl lirttr: itrtcl plitcc'. thc ['llintifll''uvas lau'lirlly

              trirvcling orr tlrc aforcsaicl roil(lwav.

                        ll.            lt rvls llrcn and thcrc tlrc tluty cll"Dcl'cntlirnt l{cycs to opcrillc his vchiclc rvillt                      drrc cnrc


              iurcl uautiorr       ibr Iiis ou,n sili'ctv arr,.i tlrc sal'c'ty ol'r:thcrs. irtclucling I'llintitl'. artd itt accorclatlcc with tlrc

              upplicirhL"'stiltutcs ln<l ortlinuttccs in cl'fcct {ll thc slid tirttc antl placc,

                        .1j.           lu brr;irch ol'tlrc utirlr"'rnuutionr'cl cluty, Dulr:rrrliutt I{uyus uattsr:cl lris vuhiclu tu strihs

.ri           thc rcirr ol'tlro vclticlc rlrivctt [rv l)llrirttil't'.
az
J d 9p.-                 l.l   .       Ar       tlrc. irlirtr":siritl tirnr: unrl plircu. l)ull.rrrlnrrt    llcycs s'ns lltcn ltntl tlrurc gtrilty ()t'ollc     ()r

=\o;3
.': *a 9 c'
               rurrrc ol' tlrc lirl lo\\'ing ulrrclcss            lrttl ncglig'.'rll   ltcts ()l' trtltissiotts:
3S!;
:ziii9-
- >'-'                                 (ir)           [:irilutl trr scc anrl ot'rsr;n'c l)liriutil'l's r,r"'lticle'*'hctt ltc ctrttltl ltttcl slrottltl ltaYc
-:.1                                                  suull iln(l otrscrvr;tl il:
-:..1


                                        (b)            ljlilccl ro slorv rhc vchiclc to n spcctl rcusortotrlc {irr trat'tiq ctlntlitiorts              artcl tltc
                                                       rusc ol'thc roatlrvuy, in violittiott ol'(rl5 ll"C'S 5i ll-60ll


                                        (c: )          Iruilurl to irrl.itrsl tlro spccct so ils to o\'()i(l       l   collision q'ith ['lnintifl''s vclticlc    irt
                                                       l,jlrlutiou ol' 615 ILCIS 5/l l -9(t5:

                                        (d)            Struck lhc rcar portion ol'l)laintill"s vchiclc;

                                        (c)            [ailcclto clrivc thc vchiclc l'ithin thc stottllory prcscribcd spccd lilnit:

                                        (r)            Opcrarcr,l rlyr vc[iclc upon il public rr'ay rtc'gliguntly. hccdlcssly arrd rvilltottt
                                                       cltrc clrrc rrr carrtiort. rtrtcl irr u nlullncr so irs l() ctttlirr:gcr or Iikcly lo cndallgcr
                                                       illly   pL'rs()l)   or Pr()l)cl'1yl

                                        (c)             Iririlcrt ro st()p thu I'clriclc irr tintr: tt) uvr)id tltr: uollisitltt althouglt Dct'cndattt
                                                        l<rrcq,or slrorrlil lravc sccrr rlurt            il rvls intpcrttling      nncl had attrplc   titnc   uncl
                                                        trpPorttrnilv lo iN,oitl        i1:


                                         (h)            ["'irilccl   to trrrn oI     clrirrrgc   lIc. corrrsc ol'ltis vclticlu so 0s ttl lrltvc 1'lassctl
                                                        [,laintil'l"s irutourotriL,r rrlitlroul causiurl thu utrllisitrtr. irltlttlugh ltc had ilruplc
                                                        titnc   irttcl opptrrtttnit;-   lil tlo stl:
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                                    (t)          Drovc lhc vuhiclc rr,itlr a rvilltill rlr rvanton clisrcgarcl tbr ths saf'cty uI'pcrs()lts
                                                 or llropqrt)' lcgully rvit.hin thc roaehviry in violatir:n ol'(r2-5 ILCS 5/t2-l0l:

                                    (i)          lrailcd to kccll a sal'c tlisllrncc l:ctu,crcn lris r,chiclc and           tltc vchiclt'hcittg
                                                 drir',;tt bY PIai,tili: arrd

                                    (k)          Irailcd to ohcy thc trll'lrc rulcs ol'thc St:rtc of lllinois.
                                    -l-lrirt
                           .15.                as u rliroct irntl proxirrrnli; r'r:srrll of'unc ()[ n'lorc' ol'[)c['c'ndartt [lcycs'         saicl

               rvrortglirl   irct.s r)r orr)issiorrs.   I)lirirrtil'l'Dippnur, rvas su.r,crr;lv iniurr"rtl itnd bu'rjattts sick, soru. lantc attd

               tlisorrlcrli:cl iurtl lrirs sut'li'rcrl sc\,!:t'Lr irurl pr:rrrrirnrul irr.iurius. both itttcrrtttl arrcl cxlcrttal, ancl lttts

               srr   l'lurcrt L)ss r)1'uilt'tlilrgs trrtl prolits. [:uing rhcrctrv ut]ilblc to ilttcn(l to hcr usual ctnploylllcllt           an(l


               oucupilti()r'l: arrrl lras irrcurrccl grcat rncdiull cxpcrrsr's            in lrtd irhotrt tlrc trclltn'lcnI ol'siticl   irtjtn'ics.

               prol)crl\r dirrrrirgc iurrl hus crrdrrlutl grcat plirr urrcl srrl'lr'rirrg: irttrl s'as tttltcru'isr'irrjurccl bccausc ot'
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i-             Dul cndirul ll'cycs' rrcgl igcncu,
l'f; -   ..,
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AqSo           tirvor lrrcl agirirrst thc t.)ct'tlntlanl,        Jr.urrr Josc   [)crcz Rcycs. indit,idulrll,v, atrtl its ilgcl]t. sl'rvalrl' or
i[sr           cnrployrrc ot'[:ntcrprisc            Ilcnt-r\-Clr C'onrplny- ]'4iclrvcst LLC. andior [!an ]'lolclings LLC, in                    att
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                lunlorrnt in cxccss ol'$5(),()()0.(X) plus I)luintit't"s costs h,Jrcin. as rvcll as srtuh lirrtltcr antl othcr rclict'

                lirl l)liiirrtit'l'as tlris llr:rrorlbli: Corrrt tlccnrs.iusl    ar:rl ccpritirhlc in thc prcttriscs.




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                   L'lriclgo. Illinois (r0(r0      I
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                                                               rN'tt.{lt cil{('l.Jt"t' c0tJRl' otJ c'o()K cotJN'rY
                                                                ('o u N't'\' D ti I'A tr't'\{ tiN'f. t_A w DI v ts I ()N

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               St    J P I:li l l l:41' l.'(i l..l S t1 Il V I C't_:S, I NC.,

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               [:\,irncl tlrl0rrgh its ilgcuts. s!.t.\.itlll:i.                      ()r.
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Attorney Irirrn No.       46693 EKS:cah            lLcl-l6377           Novernber 30, 2015

                           IN'fI-IE CIRCUIT COUR'I'OF COOK COUNTY, ILLINOIS
                                   COLINTY DEPARTMEN]" LAW DIVISION

LORI DIPPNER.


         Plaintil'f   ,                                    No.: l5 L       10815

         v.

SUPERI{EAT ITGI-I SERVICES, INC., A
Delaware Corp., individually and by and
ll]loygll its agents, servants or employees,
                                       -
JUAN JOSI] PEREZ REYES, et al.


         Def-endants.


                                      APPEARANCE and JUIIY DEMAND
         "l'he undersigned,
                            as attonrey, enters the appearance of the Defendants,


                                  SUPBRHEAT FGH SERVICES,INC, antt
                                      JUAN JOSE PERBZ REYES


                                                   THOMAS & ASSOCIATBS
Delerrdants dernand trial by   jury                as attorneys   fbr Defendant(s)


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                                                   By:
                                                           Elana      I(. Seifert
Elan:r K. Seifert
THOMAS & ASSOCIATES
500 W. Madisorr Street-SLrite 2900
Chicago, Illinois 6066 I
Direct: (312) 7 56-4t 59
Phone: (3 12) 930-5500
Fax: (866) 794-4702
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        I, the undersigned, not an attorney, certify that a copy of this Appearance and Jury
Demand was served on all parties who have upp.urld and havc not heretoftre, been found
                                                                                       by thl
Court to be in default fbr tailure to plead,
                                                                  4


                                                  Catherine Hodges
